

ORDER

PER CURIAM.
AND NOW, this 24th day of May, 2004, there having been filed with this Court by Janice Griffin O’Reilly her verified Statement of Resignation dated March 29, 2004, stating that she desires to resign from the Bar of the Commonwealth of Pennsylvania in accordance with the provisions of Rule 215, Pa.R.D.E., it is
ORDERED that the resignation of Janice Griffin O’Reilly be and it is hereby accepted and she is DISBARRED ON CONSENT from the Bar of the Commonwealth of Pennsylvania; and it is further ORDERED that she shall comply with the provisions of Rule 217, Pa.R.D.E. Respondent shall pay costs, if any, to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
